                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DMSION
                                 No. S:20-CR-48-D


UNITED STATES OF AMERICA                      )
                                              )
                 v.                           )               ORDER
                                              )
DAISHON MARQillSE BRYANT,                     )
                                              )
                               Defendant.     )


       On January 24, 2020, defendant Daishon Marquise Bryant ("Brayant'' or "defendant'') was

indicted [D.E. 1]. On August 10, 2020, defendant moved to continue the arraignment and trial to

a later date [D.E. 30]. On August 11, 2020, this court granted the motion and continued the

arraignment to its September 2020 term of court [D.E. 31]. On September 16, 2020, defendant

moved a second time to continue the arraignment and trial to a later date [D.E. 39]. On that same

date, this court granted the motion and continued the arraignment to its November 2020 term of

court [D.E. 40]. On November 6, 2020, this court was informed that there is an outbreak: of COVD-

19 at the Franklin County Jail where defendant is being housed.

       Pursuant to speedy trial computations, defendant's arraignment and trial should be held not

later than November 19, 2020. This court's next terms of court are November 30 and December 7,

2020. Due to the need for professionals to address the COVID-19 outbreak: at the Franklin County

Jail, the ends of justice served by delaying defendant's arraignment until this court's December 7,

2020 term of court outweigh the best interests of the public and the defendant in a speedy trial.

Thus, the period of delay is excluded from speedy trial computation pursuant to 18 U.S.C. §

316l(h)(7)(A).




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SO ORDERED. This ...la.. day ofNovember 2020.



                                        JSC.DEVERID
                                        United States District Judge




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